 

 

Case 9:19-cv-80825-DMM Document 71 Entered on FLSD Docket 02/04/2020 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 19-80825-CIV-MIDDLEBROOKS

JENNIFER QUASHA, on behalf of her
son, H.Q., a minor,

Plaintiff,
V.

CITY OF PALM BEACH GARDENS,
FLORIDA,

Defendant.

 

ORDER GRANTING MOTION TO WITHDRAW.
THIS CAUSE is before the Court upon an Unopposed Motion to Withdraw as Attorney by

Matthew W. Dietz, and the Disability Independence Group, Inc., as counsel for Plaintiff
(“Counsel”), Jennifer Quasha, on behalf of her son, H.Q. (“Plaintiff”). (DE 70). This Motion was
filed on January 16, 2020. (/d.). Counsel seeks to withdraw due to “irreconcilable differences.”
(id.). For the following reasons, the Motion is granted.

This action was dismissed on January 15, 2020 pursuant to Plaintiff's Motion for Voluntary
Dismissal. (DE 62; DE 68). Although at the time of closing Plaintiff alluded to the possibility that
it might file a motion for attorney’s fees, the time for it to do so has now expired. See Fed. R. Civ.
P. 54 (“[A] motion for attorney’s fees must be filed no later than 14 days after the entry of
judgment.”). Therefore, I will approve Plaintiff’s request to withdraw as counsel. Accordingly, it
is hereby

ORDERED AND ADJUDGED that

1. Matthew W. Dietz, and the Disability Independence Group, Inc.’s Motion to Withdraw

(DE 70) is GRANTED.

 
 

igen 2ciine i obit ion etirinn S

Case 9:19-cv-80825-DMM Document 71 Entered on FLSD Docket 02/04/2020 Page 2 of 2

2. Counsel shall provide a copy of this Order to Defendants. Counsel shall then have no
further responsibility in this matter and shall be removed from the CM/ECF notification
system and from the certificates of service for all pleadings, correspondence, and orders.

SIGNED in Chambers in West Palm Beach, Florida, this F day of F

   

 

‘DONALD M. MIDDLEBROOKS
UNITED STATES DISTRICT JUDGE

CC: Counsel of Record

Jennifer Quasha

108 Via Escobar Place

Palm Beach Gardens, Florida 33418
Pro Se
